     Case 2:11-cr-00071-RHW   ECF No. 63   filed 08/15/11   PageID.138 Page 1 of 1




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 5
                           UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,               )
 8                                            )     CR-11-071-RHW-3
                       Plaintiff,             )
 9                                            )     ORDER FOLLOWING STATUS
      v.                                      )     CONFERENCE AND GRANTING
10                                            )     UNOPPOSED ORAL MOTION TO
      DONNA MARIE STONE, a/k/a Donna          )     MODIFY CONDITIONS OF RELEASE
11    Marie Dansby,                           )
                                              )            ECF No. 61
12                     Defendant.             )

13         At the August 15, 2011 Status Conference, defendant orally

14   moved for modification of release conditions (ECF No. 61).                      The

15   unopposed motion was granted and conditions of release are amended

16   to permit:

17         (1) Ms. Stone’s 13 year old son may stay at her home as

18   permitted by Pretrial Services and shall include weekends.

19         (2) Ms. Stone may have family stay at her home during the

20   weekend of her mother’s wedding, provided no visitors have been

21   convicted of felonies.

22         The next Status Conference will be held on Friday, September

23   16, 2011 at 1:30 p.m. before the undersigned.

24         All other conditions of release remain.

25         DATED August 15, 2011.

26
27                              S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
